     Case:23-00026-ESL Doc#:11 Filed:06/07/23 Entered:06/07/23 19:05:37       Desc: Main
                               Document Page 1 of 1


 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
 2

 3
      IN RE:                                   CASE NO. 23-00462-ESL11
 4    AZURE DEVELOPMENT INC                    Chapter 11

 5
                     Debtor                    ADVERSARY NUMBER: 23-00026-ESL
 6
      AZURE DEVELOPMENT INC
 7                  Plaintiff
      TRIANGLE CAYMAN ASSET COMPANY
 8
                    Defendant
 9
                                                     FILED & ENTERED ON JUN/07/2023
10

11                                        JUDGMENT

12         Upon the order entered on June 7, 2023 (see docket #10), it is now

13         ORDERED, ADJUDGED AND DECREED that the instant case be, and it is hereby

14   dismissed with prejudice.

15         IT IS SO ORDERED.

16         In San Juan, Puerto Rico, this 7 day of June, 2023.

17

18

19

20

21

22

23

24

25

26

27

28

29

30

31

32
